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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

 BILL SNIDER,

                       Plaintiff,

                      v.                            CAUSE NO.: 3:19-CV-049-JD-MGG

 STATE OF INDIANA, et al.,

                      Defendants.

                                           ORDER

       Bill Snider, a prisoner without a lawyer, filed a letter with the court requesting

that his case be dismissed. ECF 5. In his letter, he explains he cannot proceed with the

case because he cannot afford to pay the fee. Id. However, when “a prisoner brings a

civil action . . . in forma pauperis, the prisoner shall be required to pay the full amount

of a filing fee.” 28 U.S.C. § 1915(b)(1). Snider filed this case, therefore he must pay the

filing fee. See Hains v. Washington, 131 F.3d 1248, 1250 (7th Cir. 1997) (“[T]he filing of a

complaint (or appeal) is the act that creates the obligation to pay fees, and what the

judge does later does not relieve a litigant of this responsibility.”).

       In a related motion, Snider also asks the court to reduce the amount of the

monthly payment of his filing fee. ECF 7. In this regard, he requests the court allow

him to pay ten percent of the money he receives for each calendar month, instead of

twenty percent. ECF 7 at 3. However, because Snider is a prisoner, he is subject to the

requirements of 28 U.S.C. § 1915(b) and must pay “20 percent of the preceding month’s

income credited to [his] prisoner account . . . each time the amount in the account
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exceeds $10 until the filing fees are paid.” See 28 U.S.C. § 1915(b)(2). The court does not

have authority to modify the amount or timing of payments. Lucien v. DeTella, 141 F.3d

773, 776 (7th Cir. 1998); see also Newlin v. Helman, 123 F.3d 429, 436 (7th Cir. 1997).

       For these reasons, the court:

       (1) DENIES Bill Snider’s motion to reduce the amount of his monthly filing fee

(ECF 7);

       (2) GRANTS Bill Snider until March 29, 2019 to inform the court if he wishes to

proceed with this case because he is required to pay the filing fee; and

       (3) CAUTIONS him that if he does not respond by that date, this case will be

dismissed without further notice.

       SO ORDERED on February 28, 2019

                                                       /s/ JON E. DEGUILIO
                                                   JUDGE
                                                   UNITED STATES DISTRICT COURT




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